Case 16-60015-lrc      Doc 47     Filed 05/01/18 Entered 05/01/18 13:04:16            Desc Main
                                  Document      Page 1 of 1




                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

In Re:                                          )     Chapter 7
Unfakabba Ousmani Daramy                        )     Case No. 16-60015-LRC
                                                )     Judge Lisa Ritchey Craig
                                                )

                             NOTICE OF APPEARANCE AND
                           REQUEST FOR SERVICE OF PAPERS

       Pursuant to Bankruptcy Rules 2002 and 9010, the undersigned attorney enters this Notice
of Appearance on behalf of Wells Fargo Bank, N.A. (hereinafter referred to as “Creditor”), a
secured creditor in the above referenced case on real property located at 4047 Suwanee Trail Dr,
Buford, GA 30518. Creditor, through counsel, hereby requests that all notices to Debtor(s) or
Creditors also be mailed in care of Creditor as follows:
                              Shapiro Pendergast & Hasty, LLP
                              211 Perimeter Center Parkway, N.E., Suite 300
                              Atlanta, GA 30346
       Dated May 1, 2018
                                                     Shapiro Pendergast & Hasty, LLP


                                                     /s/Taylor S. Mansell______
                                                     Taylor S. Mansell
                                                     Georgia Bar No. 940461
                                                     211 Perimeter Center Parkway, N.E.
                                                     Suite 300
                                                     Atlanta, GA 30346
                                                     Phone: 770-220-2535
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